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              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF WISCONSIN


COMMON CAUSE, COMMON CAUSE
WISCONSIN, BENJAMIN R.
QUINTERO,

            Plaintiffs,

      v.                                  Case No. 19-CV-323

MARK L. THOMSEN, et al.,

            Defendants.


            DEFENDANTS’ BRIEF IN SUPPORT OF
     MOTION FOR PARTIAL JUDGMENT ON THE PLEADINGS



                             INTRODUCTION

      The Seventh Circuit recently decided Luft v. Evers, 963 F.3d 665

(7th Cir. 2020), which upheld in part, and reversed in part, two district court

decisions that broadly addressed aspects of Wisconsin’s voter ID laws. Luft

included discussion of a topic that relates to this case—concerning certain

student ID requirements—and resolved significant aspects of what can be

required of those IDs.

      Defendants’ now file this motion to resolve a narrow and purely legal

controversy about how Luft applies to one aspect of Plaintiffs’ case in Count I

of their complaint: whether under the appropriate constitutional analysis,
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when a student shows up at the polls with proof of enrollment, that student’s

ID must also contain an issuance date and expiration date. Because those are

requirements under Wisconsin law that are common to IDs, and because Luft’s

analysis shows that these kinds of requirements remain valid regardless

whether a student arrives with proof of enrollment, this Court should dismiss

Count I of Plaintiffs’ complaint.

      Defendants’ make this motion now—and respectfully request an

expedited ruling because Wisconsin’s August 11 primary election is rapidly

approaching, and it is important that this narrow controversy be addressed as

soon as possible so that election officials may administer the elections with

clear guidance from the courts on Luft’s effect.

                               BACKGROUND

      I.    Wisconsin law requires a date of issuance and date of
            expiration for student IDs.

      Under Wisconsin law, voters must present a photo ID, regardless of

whether they are voting in person or by mail. Wis. Stat. §§ 6.79(2)(a),

6.86(1)(ar), 6.87(1). Acceptable forms of photo ID for voting include Wisconsin

driver’s licenses, Wisconsin state ID cards, U.S. uniformed service

identification cards, U.S. passports, certificates of U.S. naturalization,

Wisconsin driver’s license receipts, Wisconsin state ID card receipts, tribal

membership cards, student IDs, and veteran’s identification cards.



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      For a student ID to be valid for voting, Wisconsin law requires the

following:

      An unexpired identification card issued by a university or college in this
      state that is accredited, as defined in s. 39.30 (1) (d), or by a technical
      college in this state that is a member of and governed by the technical
      college system under ch. 38, that contains the date of issuance and
      signature of the individual to whom it is issued and that contains an
      expiration date indicating that the card expires no later than 2 years
      after the date of issuance if the individual establishes that he or she is
      enrolled as a student at the university or college on the date that the
      card is presented.

Wis. Stat. § 5.02(6m)(f).

      II.    One Wisconsin and Luft provide a framework for
             Plaintiffs’ challenges to the student ID requirements.

      In One Wisconsin, the court addressed a challenge to Wis. Stat.

§ 5.02(6m)(f)’s requirement that student IDs be unexpired. The court

concluded that this statute does not discriminate on the basis of age. One

Wisconsin Inst., Inc. v. Thomsen, 198 F. Supp. 3d 896, 927 (W.D. Wis. 2016)

(“[W]ere these restrictions so baseless as to suggest purposeful discrimination

against young voters? The court concludes that the answer is ‘no.’”). However,

the Court concluded that the requirement that student IDs be unexpired

violates the Fourteenth Amendment. In reaching that conclusion, the court

explained the state’s interest in “ensuring that only current students vote” is

adequately addressed by requiring student to present proof of enrollment with

the student ID. Id. at 962. In went on to note that “[a]dding the requirement

that a voter’s college or university ID be unexpired does not provide any

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additional protection against fraudulent voting.” Id. Given this redundancy,

the court held that “the state has failed to justify its disparate treatment of

[student] voters with expired IDs,” which violates the Equal Protection Clause

of the Fourteenth Amendment. Id.

      In reaching that conclusion, the One Wisconsin court noted that the

plaintiffs did not bring any claims challenging the statute’s other

requirements. The court thus explained that “[t]he only thing that will change

is that the ID card that a college or university student actually presents at the

polls can be expired.” Id. at 962. The court stated:

      To be clear, the court is not concluding that voters have carte blanche to
      use expired college or university IDs at the polls; they must still comply
      with the other requirements of Wis. Stat. § 5.02(6m)(f). Plaintiffs have
      not directed their rational basis challenge to the requirement that a
      voter with a college or university ID also present proof of enrollment at
      the issuing institution. Nor have plaintiffs challenged the rational basis
      for permitting only IDs that expire no more than two years after
      issuance. These requirements still apply. The only thing that will
      change is that the ID card that a college or university student actually
      presents at the polls can be expired.

Id. at 962. That decision was subsequently appealed,1 and this case was stayed

pending resolution of the appeal. (See Text Only Order, July 19, 2019.)

      The appeals in One Wisconsin were decided on June 29, 2020, in Luft v.

Evers, 963 F.3d 665 (7th Cir. 2020). In Luft, the Seventh Circuit found “hard

to accept” the district court’s conclusion that permitting unexpired student IDs


      1 The One Wisconsin appeal involved two consolidated appeals, Case Nos.
16-3083 and 16-3091 (7th Cir.).

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for voting, but not expired student IDs, “violates the Equal Protection Clause.”

Luft, 963 F.3d at 677.

      Rather, Luft explains that there is “nothing wrong with a requirement

that IDs be current.” Id. The problem was that Wisconsin law also required a

redundancy that was not required of any other form of ID: “A student ID card,

alone among the sorts of photo ID that Wisconsin accepts, is not sufficient for

voting unless the student also shows proof of current enrollment.” Id. The

restriction failed constitutional scrutiny because “[t]he statute sets students

apart in this respect, and the state has not tried to justify this distinction.” Id.

      However, the court did not forbid redundancies. To the contrary, Luft

rejected the district court’s conclusion that “redundant requirements” in the

student ID requirements, “such as current ID + proof of enrollment[,] are

invariably irrational.” Id. Rather, “[m]any a lawyer prefers a belt-and-

suspenders approach.” The problem was that, in addition, the statute treats

“students . . . differently from other potential voters.” Id. The Seventh Circuit

subsequently issued a clarification order, explaining:

      Our opinion holds that the state may not require student IDs to be
      unexpired, when the student provides some other document
      demonstrating current enrollment. The point of our decision is that
      requiring two documents from students, but not other voters, needs
      justification, which has not been supplied. But a student who appears
      at the polls with an expired student ID card, and without proof of
      current enrollment, need not be allowed to vote.




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(Luft, 7th Cir. No. 16-3003, Dkt. 102, July 22, 2020 (emphasis added).) The

opinion and clarification in Luft mean that a student ID conforming to the

statutory requirements must be accepted without “also show[ing] proof of

current enrollment,” see Luft at 677, and that an expired student ID may be

used for voting if accompanied by proof of current enrollment. (See Luft,

7th Cir. No. 16-3003, Dkt. 102, July 22, 2020.)

      III.   Plaintiffs’ challenges to the student ID requirements.

      In this case, Plaintiffs are challenging the constitutionality of the

provisions in Wis. Stat. § 5.02(6m)(f) that prohibit the use of a student ID for

voting unless the ID displays an issuance date, an expiration date, and a

signature. Relevant to the present motion, in Count I of their Complaint,

Plaintiffs allege that the issuance and expiration date requirements are

impermissible because the statute requires redundant proof of enrollment:

      Wisconsin state law requires that college and university student ID
      cards must bear an issuance date and an expiration date not more than
      two years after the issuance date in order to be used as voter ID. It also
      requires that a student present documentary proof of residency upon
      registering to vote and proof of current enrollment such as an enrollment
      verification letter, tuition fee receipt, or class schedule in conjunction
      with their student ID. These latter requirements render the issuance and
      expiration date requirements redundant, unnecessary, and irrational.

(Dkt. 1 ¶ 39 (emphasis added).) They cite the decision in One Wisconsin as

support for this claim. (See Dkt. 1 ¶ 39.) For relief on this claim, and to the

extent Wisconsin law imposes an “unnecessary and irrational issuance date




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[and] expiration date,” Plaintiffs seek declaratory and injunctive relief that

these requirements are unenforceable.

                          STANDARD OF REVIEW

      “After the pleadings are closed—but early enough not to delay trial—a

party may move for a judgment on the pleadings.” Fed. R. Civ. P. 12(c). A

motion for judgment on the pleadings under Rule 12(c) is proper if it appears

beyond doubt that the plaintiffs cannot prove any facts that would support

their claim for relief. Landmark Am. Ins. Co. v. Hilger, 838 F.3d 821, 824

(7th Cir. 2016). A motion for judgment on the pleadings is subject to the same

standard as a motion to dismiss under Fed. R. Civ. P. 12(b)(6). Hayes v. City of

Chicago, 670 F.3d 810, 813 (7th Cir. 2012). In ruling on a motion for judgment

on the pleadings, the court must accept all well-pled allegations as true and

view the alleged facts in the light most favorable to the non-moving party. Id.

However, the court need not accept as true any legal assertions. Lodholtz v.

York Risk Servs. Group, 778 F.3d 635, 639 (7th Cir. 2015).

                                 ARGUMENT

      Luft conclusively settled major aspects of what is permissible, and what

is not, under Wisconsin’s student ID provision. Defendants believe that its

discussion of the constitutional issue, as applied to expiration dates on student

IDs, leaves nothing more to develop regarding Count 1 of Plaintiffs’ complaint

challenging issuance and expiration date requirements. Luft’s holding as

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applied to that claim is a pure legal question that can, and should, be addressed

now. This Court should rule that, under Luft, those date requirements remain

in force, regardless whether a student also brings proof of enrollment to the

polls.

         I.   The constitutional analysis under Luft.

         In Luft, the court rejected the premise that redundant requirements in

voter identification statutes are impermissible under the Anderson-Burdick

analysis. Luft, 963 F.3d at 676–77. Instead, it explained that the constitutional

question turned on rational-basis equal protection principles. The court

explained that what matters is whether both (1) “students [were] treated

differently from other potential voters.” and (2) the state “lack[ed] a rational

basis” for doing so. Id. at 677. Thus, under Luft, student IDs cannot be

irrationally required to contain something not required of other IDs. But

having a “belt-and-suspenders approach” to ensure the student IDs are reliable

for voter identification purposes does not violate the constitution. See id.

         “The Equal Protection Clause of the Fourteenth Amendment commands

that no State shall ‘deny to any person within its jurisdiction the equal

protection of the laws,’ which is essentially a direction that all persons

similarly situated should be treated alike.” City of Cleburne, Tex. v. Cleburne

Living Ctr., 473 U.S. 432, 439 (1985) (quoting U.S. Const. amend. XIV.).

Rational basis review requires a plaintiff to prove that: (1) the defendants


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intentionally treated the plaintiff differently from others similarly situated;

(2) the difference in treatment was caused by the plaintiff's membership in the

class to which it belongs; and (3) the different treatment was not rationally

related to a legitimate state interest. Srail v. Vill. of Lisle, Ill., 588 F.3d 940,

943 (7th Cir. 2009) (citing Smith v. City of Chicago, 457 F.3d 643, 650–51

(7th Cir. 2006)). As the court in Luft recognized, “[t]he rational-basis standard

is not demanding.” Luft, 963 F.3d at 677.

      “[A] classification neither involving fundamental rights nor proceeding

along suspect lines is accorded a strong presumption of validity.” Heller v. Doe,

509 U.S. 312, 319 (1993). Defendants need not produce evidence to support the

rationality of the state’s decision, nor are they limited to the justifications that

the Legislature had in mind at the time that it passed the challenged

provisions—any rational justification for the laws will overcome an equal

protection challenge. Id. at 320–21.

      II.   Judgment on Count I challenging the issuance and
            expiration date requirements for student IDs is
            appropriate under Luft because these requirements
            do not violate equal protection principles by treating
            students differently.

      Plaintiffs will likely argue that the dates of issuance and expiration on a

student ID are inconsequential and unenforceable under Luft, as long as a

student presents proof of current enrollment. But that argument fails as a

matter of law. Under Luft, the State is permitted to require “belt-and-


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suspenders” requirements for IDs so long as students are not being singled out.

They are not singled out here.

      The issuance and expiration date requirements found in Wis. Stat.

§ 5.02(6m)(f) are distinct requirements under state law, in addition to the

non-expired ID requirement addressed by Luft. Luft held that students could

not be singled out to produce the same information twice: they cannot be forced

to show both an unexpired ID and, in addition, proof of current enrollment.

      But having an issuance and expiration date is a not the same thing as

an ID being unexpired; rather those pieces of information go to how recently

the ID was issued, not whether it is unexpired. Under Luft, there is nothing

impermissible about requiring issuance and expiration dates.

      Key under Luft is that the requirements for dates of issuance and

expiration impose nothing unique on students. Except for tribal membership

cards, all other acceptable forms of voter ID must contain an expiration date.

See Wis. Stat. § 5.02(6m). Wisconsin driver’s licenses, Wisconsin state ID cards,

U.S. uniformed service identification cards, U.S. passports, certificates of U.S.

naturalization, Wisconsin driver’s license receipts, Wisconsin state ID card

receipts, and veteran’s identification cards all contain an expiration date. In

addition, all acceptable forms of IDs except for the military IDs contain a date




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of issuance.2 This is a rational requirement to help ensure that the document

is current. Thus, students are not singled out by having to present voter ID

that contains dates of issuance and expiration.

      These requirements do not treat students differently from others

similarly situated, and they serve a legitimate purpose, which is all that

rational basis and Luft require. Issuance and expiration dates are required on

almost all of the other voter-compliant IDs. Additionally, issuance and

expiration dates are necessary for another element of Wis. Stat. § 5.02(6m)(f),

which is that the ID have a term of no more than two years. That two-year

requirement is rationally related to ensuring that the information on the ID is

current. Including an issuance date also gives clerks a point of reference for

the age of the photo on the ID.

      In light of Luft, judgment on the pleadings is proper on the issue of

whether Wis. Stat. § 5.02(6m)(f)’s requirements that a student ID contain dates

of issuance and expiration survive constitutional scrutiny. Claim I should be

dismissed because it satisfied neither prong of the applicable test—it neither

singles students out nor is it irrational.



      2   Identification cards issued by a U.S. uniformed service and veterans
identification cards do not appear to contain a date of issuance. See Acceptable Photo
IDs     for    Voting     in     Wisconsin,    Wisconsin     Elections    Commission,
https://elections.wi.gov/sites/elections.wi.gov/files/2020-
07/7%20Acceptable%20Photo%20ID%26%23039%3Bs%20Pictures-
2020%20july%20update.pdf.

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                               CONCLUSION

      Defendants request that this Court grant partial judgment on the

pleadings. The Court should dismiss Count I of Plaintiffs’ complaint

challenging the requirement that student IDs contain an issuance and

expiration date. Defendants request an expedited ruling on this motion in light

of the upcoming elections.

      Dated this 3rd day of August, 2020.

                                    Respectfully submitted,

                                    ERIC J. WILSON
                                    Deputy Attorney General of Wisconsin

                                    Electronically signed by:

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